Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 1 of 29 PageID #: 218

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------------- X
SHERENA STENNETT, INDIVIDUALLY; SHERENA
STENNETT AS THE NATURAL MOTHER AND
GUARDIAN OF S.C. REYNOLDS A MINOR AND                                     INDEX#: 21-01069
Z.K. KERR, A MINOR; S.C. REYNOLDS A MINOR;
AND, Z.K. KERR, A MINOR                                                   COMPLAINT AND
                                                      Plaintiffs,         JURY DEMAND
                       -against-

 NEW YORK CITY ADMINISTRATION FOR
 CHILDREN’S SERVICES (ACS); DAVID A. HANSELL,
 Commissioner of the New York City Administration for
 Children’s Services, in his official capacity; ACS CASE
 WORKER N ARGAN, INDIVIDUALLY AND AS AN
 AGENT OF ACS; ACS CASE WORKER SUPERVISOR
 M THOMPSON, INDIVIDUALLY AND AS AN AGENT
 OF ACS; HONORABLE ERIC GONZALEZ IN HIS
 CAPACITY AS THE DISTRICT ATTORNEY KINGS
 COUNTY; THE NEW YORK CITY POLICE
 DEPARTMENT; THE CITY OF NEW YORK;
 STEPHANIE NEWBALD, INDIVIDUALLY, AS THE
 PARENT AND LEGAL GUARDIAN OF C.
 MCDONALDS, A MINOR, AND AS AN AGENT OF
 THE NEW YORK CITY POLICE DEPARTMENT; JANE
 DOES 1-5 INDIVIDUALLY AND AS AGENTS OF THE
 NEW YORK CITY POLICE DEPARTMENT, SAID
 NAMES BEING FICTITIOUS AND INTENDED TO
 REPRESENT THE FEMALE OFFICERS WHOSE
 NAMES ARE NOT KNOWN TO PLAINTIFFS AT THIS
 TIME; AND JOHN DOES 1-5 INDIVIDUALLY AND AS
 AGENTS OF THE NEW YORK CITY POLICE
 DEPARTMENT, SAID NAMES BEING FICTITIOUS
 AND INTENDED TO REPRESENT THE MALE
 OFFICERS WHOSE NAMES ARE NOT KNOWN TO
 PLAINTIFFS AT THIS TIME,
                                                       Defendants.
 ----------------------------------------------------------------------- X

                                      PRELIMINARY STATEMENT

1.       This is a civil rights action in which plaintiff seek relief for among other acts and or

         omissions, the violation of her rights secured by 42 U.S.C. §1983, the Fourth and

         Fourteenth Amendments to the United States Constitution, and the laws and the

         constitution of the State of New York.

2.       The claims arise from an incident that occurred on or about February 14, 2018 wherein
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 2 of 29 PageID #: 219

      which the police officers and police sergeant named above herein as defendants made

      false statements about Sherena Stennett to members of the District Attorney’s Office

      Kings County that led to Sherena Stennett being arrested prosecuted and said statements

      were made after Sherena Stennett was subjected to the false arrest and detention by said

      members of the police department and assaulted by Stephanie Newbald an officer of the

      New York City Police Department.

3.    The Minor Plaintiffs S.C. REYNOLDS and Z.K. KERR, witnessed the malicious and

      unjustified actions by the members of the New York City Police Department, ACS, The

      City of New York and other Defendants, that were committed against Sherena Stennett

      and are to date still experiencing the stress and trauma of observing these traumatic

      events.

4.    As a direct result of the acts, omissions and false allegations by the Defendants, and the

      failure of the New York City Police Department to investigate the allegations pertinent to

      said incident, Plaintiff Sherena Stennett, was unlawfully and unjustly arrested by

      members of the New York City Police department, was prosecuted in the Criminal Court

      of the State of New York on Felony and Misdemeanor assault and other charges, the

      same were subsequently dismissed and sealed, but not before Sherena Stennett was

      pulled out of work, pursued and indicated by ACS and made to suffer serious emotional

      disturbance, loss of wages, loss of her good name in the community and to incur fees,

      costs and disbursements she otherwise would not have incurred.

5.    The Defendants ACS and Honorable Eric Gonzalez, did not properly investigate these

      allegations and therefore furthered the malicious and unjustified actions perpetrated

      against Plaintiffs that are now the subject of this law suit.

6.    The New York City Police Department and the City of New York also failed to properly

      investigate these claims and contributed to the damages now complained of.
                                                 2
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 3 of 29 PageID #: 220

                                 THIS ACTION IS TIMELY

7.    This action involves State Court claims as well as Federal claims against the Defendants.

8.    It is submitted that the Plaintiff’s action is timely and thus the Court should permit the

      Defendants to proceed accordingly.

9.    The Plaintiffs, have issues that continue to present daily.

10.   The acts and or omissions by Defendants against Plaintiffs’ interest are on-going and the

      time to pursue the claims Plaintiffs have against Defendants has not run.

11.   Plaintiffs have suffered and continues to suffer the emotional crisis that has resulted from

      the acts and omissions committed by the Defendants against Plaintiffs’ interests

12.   The arrest and transactions and occurrences that gave rise to this action occurred on or

      about February 15, 2018.

13.   The charges pertinent to this action were dismissed on February 28, 2019.

14.   The Plaintiffs commenced this action on February 27, 2021.

                                       JURISDICTION

15.   This action is brought pursuant to 28 U.S.C. § 1331, 42 U.S.C. § 1983, and the Fourth

      and Fourteenth Amendments to the United States Constitution.

16.   Pendent party jurisdiction and supplementary jurisdiction over plaintiffs’ state law claims

      are asserted.

17.   The amount in controversy exceeds $75,000.00 excluding interest and costs.

18.   Venue is laid within the United States District Court for the Eastern District of New York

      in that Defendants are all located in or within, and a substantial part of the events giving

      rise to the claim occurred within the boundaries of the Eastern District of New York.

19.   Since it is submitted that the Court has jurisdiction to hear the Federal Court causes of

      action listed below herein, this Court should recognize the Plaintiff’s right to invoke the

      supplemental jurisdiction of this Court to adjudicate the pendent State law claims
                                                3
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 4 of 29 PageID #: 221

      pursuant to 28 U.S.C. §1367.

                                           PARTIES

20.   At all times relevant to this action, Plaintiff SHERENA STENNETT, hereafter referred to

      as “Sherena” “Ms. Stennett” “Plaintiff Stennett” or “Plaintiff,” was a resident of the State

      of New York, Queens County.

21.   Sherena Stennett is currently a resident of the State of New York, Queens County.

22.   At all times relevant to this action, Plaintiff S.C. REYNOLDS, hereafter referred to as

      “S.C. REYNOLDS” “The Minor Reynolds” “Plaintiff Reynolds” or “Plaintiff,” was a

      resident of the State of New York, Queens County.

23.   S.C. REYNOLDS is currently a resident of the State of New York, Queens County.

24.   At all times relevant to this action, Plaintiff Z.K. KERR, hereafter referred to as “Z.K.

      KERR” “The Minor Kerr” “Plaintiff Kerr” or “Plaintiff” was a resident of the State of

      New York, Queens County.

25.   Z.K. KERR is currently a resident of the State of New York, Queens County.

26.   At all times relevant to this action, Defendants, NEW YORK CITY ADMINISTRATION

      FOR CHILDREN’S SERVICES (ACS); DAVID A. HANSELL, Commissioner of the

      New York City Administration for Children’s Services, in his official capacity, hereafter

      referred to as “ACS” “The ACS Defendants” and “Defendant” is a government agency,

      operating within the State of New York.

27.   Defendant Honorable Eric Gonzalez, herein after “The District Attorney” “Honorable

      Eric Gonzalez, and “Defendant” is sued in his official capacity as the District Attorney

      for Kings County.

28.   Defendant, THE NEW YORK CITY POLICE DEPARTMENT, is a municipal agency of

      the Defendant, CITY OF NEW YORK.

29.   Defendant, CITY OF NEW YORK, is and was at all times relevant herein a municipal
                                                4
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 5 of 29 PageID #: 222

      entity created and authorized under the laws of the State of New York. It is authorized by

      law to maintain a police department which acts as its agent in the area of law enforcement

      and for which it is ultimately responsible. Defendant CITY OF NEW YORK assumes the

      risk identical to the maintenance of a police force and the employment of Police Officers.

      Defendant CITY OF NEW YORK was at all times relevant herein the public employer of

      the Defendants, Stephanie Newbald, Jane Doe 1-5 and John Doe 1-5.

30.   At all times relevant hereto, the defendant Stephanie Newbald is the natural mother of C.

      McDonalds, a minor, and is an employee of the New York City Police Department.

31.   At all times relevant herein defendants, Police Officer Stephanie Newbald, Jane Doe 1-5

      and John Doe 1-5 were acting under color of the laws, statutes, ordinances, regulation,

      policies, customs and/or usages of the State of New York and the New York City Police

      Department, in the course and scope of the their duties and function as officers, agents,

      servants, and employees of the Defendant CITY OF NEW YORK, were acting for , and

      on behalf of, and with the power and authority vested in them by the CITY OF NEW

      YORK and THE NEW YORK CITY POLICE DEPARTMENT, and were otherwise

      performing and engaging in conduct incidental to the performance of their lawful

      function in the course of their duties. They are being sued individually and in their

      official capacity.

32.   By the conduct, acts, and omissions complained of herein, defendants, Police Officer

      Stephanie Newbald, Jane Doe 1-5 and John Doe 1-5 violated clearly established

      constitutional standards under the First, Fourth, and Fourteenth Amendments of the

      United States Constitution of which reasonable police officer under the circumstances

      would have known.

33.   Moreover, the conduct and acts of Defendants Police Officer Stephanie Newbald, Jane

      Doe 1-5 and John Doe 1-5, caused the members of the District Attorney’s office Kings
                                               5
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 6 of 29 PageID #: 223

      County, ACS and other defendants sued herein to violate clearly established

      constitutional standards under the First, Fourth, and Fourteenth Amendments of the

      United States Constitution of which reasonable police officer under the circumstances

      would have known.

34.   The Defendants all acting in concert with each other conspired and agreed and

      collaborated to violate the rights and privileges the Plaintiffs enjoy both under the State

      and Federal Constitutions.

                                FACTUAL ALLEGATIONS

35.   On or about and between February 14, 2018 and February 15, 2018, the Plaintiffs were at

      home, in Brooklyn, NY.

36.   At the time, Defendants, Sylbert Reynolds, Stephanie Newbald, C. McDonald, and

      Gaynel Reynolds were living in the home together in Brooklyn, NY.

37.   During the time the persons named above herein were cohabiting, Plaintiff Sherena

      Stennett was coming out of the kitchen and observed C. McDonald sitting in the living

      room at the home with Plaintiff S. Reynolds.

38.   Plaintiff Sherena Stennett observed that C. McDonald’s penis was exposed and heard C.

      McDonald say to Plaintiff S. Reynolds, touch it and Plaintiff S. Reynolds refused.

39.   C. Reynolds, a minor, made the same demand repeatedly and on each occasion Plaintiff

      Sherena Stennett heard S. Reynolds refuse.

40.   Plaintiff Sherena Stennett intervened by first telling C. McDonald to stop what he was

      doing and then by telling S. Reynolds to leave the living room.

41.   Plaintiff Sherena Stennett immediately went to Defendant Stephanie Newbald’s bedroom

      and reported what Plaintiff observed C. McDonald doing to Plaintiff S. Reynolds, as

      Stephanie Newbald is the natural mother and guardian of C. McDonald.

42.   When Plaintiff Sherena Stennett told Stephanie Newbald what Plaintiff observed,
                                                6
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 7 of 29 PageID #: 224

      Stephanie Newbald became irate, in that, Stephanie Newbald stated “this is why yall need

      to get the fuck up out of my house, this is why I don’t want yall the fuck up in here.”

43.   Stephanie Newbald then entered Plaintiff Sherena Stennett’s bedroom and proceeded to

      throw a turtle tank at Plaintiff.

44.   Stephanie Newbald, cursed and yelled at Plaintiffs, pulled plaintiff’s clothing out of the

      dresser drawers and closet and threw them out into the hallway at the home.

45.   Stephanie Newbald knocked over the items on the dresser and then picked up a fan and

      struck Plaintiff Sherena Stennett in the face.

46.   Stephanie Newbald threw clothing at the Minor Plaintiffs.

47.   Stephanie Newbald threw the lotion bottles and other items that were on the dresser at the

      minor plaintiffs and then ran to the kitchen and grabbed a knife and lunged at Plaintiffs

      with said knife.

48.   Plaintiffs were screaming and the yelling for help to no avail.

49.   Sherena Stennett screamed for help and tried to shield the minor Plaintiffs from

      Stephanie Newbald’s assault.

50.   Stephanie Newbald attacked Sherena Stennett and struck Sherena Stennett about the body

      and face with a pair of metal crutches as Sherena Stennett tried desperately to shield

      herself and the minor plaintiffs from Stephanie Newbald.

51.   Sherena Stennett screamed for help and Sylbert intervened.

52.   Stephanie Newbald attacked Sylbert when he tried to stop Stephanie Newbald from

      attacking Plaintiffs.

53.   Sylbert called the police and Stephanie Newbald, ran out of the home and called the

      police screaming “officer needs assistance, officer needs assistance.”

54.   This began defendants agreement to violate Plaintiff’s rights.

55.   Thereafter, several members of the New York City Police departments arrived at the
                                                7
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 8 of 29 PageID #: 225

      home where the incident occurred and when said officers arrived, Sherena Stennett told

      the police officers what happened.

56.   The officers took Sherena Stennett to the hospital as the assault with the pair of crutches

      against Sherena by Stephanie Newbald caused a laceration to Sherena’s face and several

      of Sherena Stennett’s teeth were broken.

57.   The police later placed Sherena Stennett under arrest at the hospital and charged her with

      the following charges:

      a) PL 120.05 (02) ASSAULT IN THE SECOND DEGREE A D FELONY

      b) PL 120.00 (1) ASSAULT IN THE THIRD DEGREE AN A MISDEMEANOR

      c) PL 120.14 (1) MENACING A CLASS A MISDEMEANOR

      d) PL 260.10 (1) ENDANGERING THE WELFARE OF A CHILD A CLASS A

         MISDEMEANOR

      e) PL 265.01(02) CRIMINAL POSSESSION OF A WEAPON A CLASS A

         MISDEMEANOR

      f) PL 240.26 (1) HARASSMENT A VIOLATION

      g) PL 102.15 MENACING A CLASS B MISDEMEANOR

58.   The felony charge was dismissed and sealed on 5/15/2018.

59.   The remaining charges were dismissed and sealed on 2/28/2019.

60.   Despite the evidence available at the scene, the harm caused to Plaintiff by Defendant

      Newbald and the available witness, Stephanie Newbald and her fellow police officers

      supported each other in violating Plaintiff’s rights by unlawfully arresting her and each

      refusing to intervene to stop the unlawful arrest and prosecution that would ensue.

61.   Defendants acted maliciously to support Defendant Stephanie Newbald, who had

      attached Plaintiff without cause and then conspired with her fellow police officers to have

      Plaintiff arrested, prosecuted and investigated.
                                               8
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 9 of 29 PageID #: 226

62.   After the Plaintiff Sherena Stennett was arrested, the ACS Defendants opened an

      investigation against Sherena Stennett and later indicated her for child endangerment in

      connection to the arrest.

63.   Sylbert told the police, members of the District Attorney’s officer and ACS what

      happened and in fact reported that Stephanie Newbald was the aggressor and that Sherena

      Stennett consistently tried to leave.

64.   The officers were inside of the home and thus could observe that all of the Plaintiffs’

      clothes and personal items were scattered about the hallway and Plaintiffs’ bedroom.

65.   The officers did not take any photos, did not collect any evidence and did not preserve

      the crime scene to ensure that a proper investigation would be done.

66.   Moreover, despite having full knowledge of the fact that C. Reynolds, a minor exposed

      his penis to the Minor Plaintiff and all of the evidence pertinent to the acts of extreme

      aggression Christian Reynold’s mother, officer Stephanie Newbald engaged in against

      Plaintiffs in retaliation for Plaintiffs’ complaint against C. Reynolds, a minor , the

      Defendants all acting in concert took steps against the Plaintiffs that are illegal,

      unjustified and intended to shield Stephanie Newbald, a fellow police officer, and C.

      Reynolds, a minor, from accountability.

67.   As a direct and proximate result of the actions, omissions and malfeasance that Plaintiffs

      now complain of, the Plaintiff Sherena Stennett suffered serious injuries, was pulled out

      of the classroom, suffered public humiliation and shame, had several medical procedures

      to fix her teeth, incurred medical bills she otherwise would not have incurred, has been in

      therapy and the minor plaintiffs have suffered severe psychological trauma and are in

      counseling for the same.

68.   Because Plaintiff Stennett worked in a school, the ongoing investigation prevented her

      from working due to the ACS investigation caused by Defendant’s false allegations,
                                                9
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 10 of 29 PageID #: 227

       unlawful arrest and malicious prosecution.

 69.   Plaintiff Stennett’s medical issues are in fact ongoing and continue to cause her pain and

       embarrassment.

 70.   It is submitted that these actions of the Defendants acting jointly and severally were

       malicious, conspiratorial and form the basis of the claims being set forth herein.

 71.   As a result of Defendants acts alleged herein, Plaintiffs have suffered, is suffering, and

       will continue to suffer substantial damage to her reputation, ability to earn a living, has

       been excluded from work, and has suffered injury to goodwill and reputation, all of

       which are not yet fully ascertainable.

                      AS AND FOR THE FIRST CAUSE OF ACTION
                             (42 U.S.C. § 1983 False Arrest)

 72.   Plaintiff repeat, reiterate and re-allege each and every allegation contained in paragraphs

       “1” through “72” of the complaint with the same force and effect as if set forth at this

       point.

 73.   The above paragraphs are here incorporated by reference.

 74.   The officer defendants wrongfully, illegally, and unjustifiably arrested, detained,

       imprisoned, and falsely charged plaintiff, depriving her of her liberty.

 75.   The wrongful, unjustifiable, and unlawful apprehension, arrest, detention, and

       imprisonment of plaintiff was carried out without a valid warrant, without plaintiff’s

       consent, and without probable cause or reasonable suspicion.

 76.   At all relevant times, defendants acted forcibly in apprehending, arresting, and

       imprisoning plaintiff.

 77.   All of this occurred without any illegal conduct by plaintiff.

 78.   In fact, all illegal conduct was perpetrated by Stephanie Newbald who assaulted Plaintiff

       then proceeded to recruit other Police officer’s to arrest Plaintiff by claiming “Officer in


                                                10
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 11 of 29 PageID #: 228

       need of assistance.”

 79.   The officer defendants acted under pretense and color of state law and in their individual

       and official capacities and within the scope of their respective employment as NYPD

       officers.

 80.   Said acts by officer defendants were beyond the scope of their jurisdiction, without

       authority of law, and in abuse of their powers, and said defendants acted willfully,

       knowingly and with the specific intent to deprive plaintiff of her constitutional rights

       secured by the United States Constitution.

 81.   As a direct and proximate result of the misconduct and the abuse of authority detailed

       above, plaintiff sustained the damages described above.

 82.   It is submitted that all Defendants should be held jointly and severally liable for the acts

       and omissions and issues of law set forth above as one could not have succeeded in their

       goals against Plaintiff’s interest without the individual actions of the other and the issues

       now being complained of are the direct result of the joint and individual acts of the

       Defendants.

 83.   As a result of Defendants acts alleged herein, Plaintiff has suffered, is suffering, and will

       continue to suffer substantial damages which are not yet fully ascertainable.

                     AS AND FOR THE SECOND CAUSE OF ACTION
                      (MUNICIPAL AND SUPERVISOR LIABILITY)

 84.   Plaintiff repeat, reiterate and re-allege each and every allegation contained in paragraphs

       “1” through “84” of the complaint with the same force and effect as if set forth at this

       point.

 85.   The above paragraphs are here incorporated by reference.

 86.   The City is liable for the damages suffered by plaintiff because, after learning of its

       employees’ violations of New Yorkers’ constitutional rights, the City has: failed to


                                                11
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 12 of 29 PageID #: 229

       remedy the wrong; created a policy or custom under which unconstitutional practices

       regularly occur and even thrive; and has been grossly negligent in managing subordinates

       who cause the unlawful events. The result of the City’s inaction is a culture within the

       NYPD where the same officers, the same units, and the same precincts repeatedly and

       routinely engage in acts of misconduct. By failing to properly train, supervise, and

       discipline its employees, agents, and servants, the City effectively encourages illegal,

       immoral, and unprofessional behavior.

 87.   The NYPD has for decades refused to address the “Blue Code of Silence” where officers

       witness wrongdoing by their counterparts and take no action to intervene.

 88.   Despite having such knowledge, the City has refused to appropriately sanction its

       employees’ illegal behavior.

 89.   In fact, as is the case here, the officer supported Defendant Newbald by arresting Plaintiff

       despite it being clear that Defendant Newbald was the perpetrator and in then failing to

       properly investigate the scene of a crime in which one of their own was clearly the

       perpetrator.

 90.   The City’s deliberate indifference to civil rights violations committed by individual

       police officers, as well as patterns of misconduct committed by the same officers or

       occurring in the same precinct has caused the constitutional violations against Plaintiff in

       this case.

 91.   The Blue Code of silence is an entrenched custom of the NYPD which has led to Plaintiff

       being deprived of her constitutional rights.

 92.   It is submitted that all Defendants should be held jointly and severally liable for the acts

       and omissions and issues of law set forth above as one could not have succeeded in their

       goals against Plaintiffs’ interest without the individual actions of the other and the issues

       now being complained of are the direct result of the joint and individual acts of the
                                                12
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 13 of 29 PageID #: 230

        Defendants and the refusal of the City of New York and the NYPD to train these officers

        appropriately or weed out bad actors.

 93.    As a result of Defendants acts alleged herein, Plaintiff has suffered, is suffering, and will

        continue to suffer substantial damages which are not yet fully ascertainable.

                       AS AND FOR A THIRD CAUSE OF ACTION
                 (INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS)

 94.    Plaintiffs repeat, reiterate and re-allege each and every allegation contained in paragraphs

        “1” through “94” of the complaint with the same force and effect as if set forth at this

        point.

 95.    The above paragraphs are here incorporated by reference.

 96.    Plaintiff has suffered damages as a direct and proximate result of the unlawful conduct,

        acts and omissions complained of above herein and continues to suffer psychological

        trauma, and mental anguish, and will continue to suffer trauma and anguish for a

        considerable time to come.

 97.    Defendant Newbald physically attached Plaintiff and then used her position as an NYPD

        Officer to have Plaintiff arrested.

 98.    This knowing and outrageous act by Defendant directly led to Plaintiff Stennett being

        physically injured, arrested, jailed and prosecuted.

 99.    Defendant Newbald and her fellow officers are members of the NYPD and are fully

        aware of the emotional distress that physical harm, arrest and prosecution cause from

        their experience with actual criminals.

 100.   That as a result of the foregoing, plaintiff has been damaged in the sum of an amount that

        exceeds the jurisdictional limits of all lower courts that would otherwise have jurisdiction

        the full amount of which is impossible to quantify at this time.

                     AS AND FOR A FOURTH CAUSE OF ACTION
                 (NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS)
                                                  13
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 14 of 29 PageID #: 231


 101.   Plaintiff repeat, reiterate and re-allege each and every allegation contained in paragraphs

        “1” through “101” of the complaint with the same force and effect as if set forth at this

        point.

 102.   The above paragraphs are here incorporated by reference.

 103.   Defendants failed to properly investigate the criminal charges against the Plaintiff and the

        case brought by ACS despite their duty to thoroughly investigate criminal prosecutions

        and child abuse or neglect.

 104.   Despite this duty, no proper investigation was completed and Plaintiff was made to suffer

        the stress and anxiety of potentially losing her freedom, career and children.

 105.   Plaintiff has suffered damages as a direct and proximate result of the negligent acts and

        omissions complained of above herein and continues to suffer psychological trauma, and

        mental anguish, and will continue to suffer trauma and anguish for a considerable time to

        come.

 106.   That as a result of the foregoing, plaintiff has been damaged in the sum of an amount

        that exceeds the jurisdictional limits of all lower courts that would otherwise have

        jurisdiction the full amount of which is impossible to quantify at this time.

                         AS AND FOR A FIFTH CAUSE OF ACTION
                             (DEFAMATION/SLANDER/LIBEL)

 107.   Plaintiff repeat, reiterate and re-allege each and every allegation contained in paragraphs

        “1” through “107” of the complaint with the same force and effect as if set forth at this

        point.

 108.   The above paragraphs are here incorporated by reference.

 109.   Defendant’s falsely accused Plaintiff Stennett of committing a crime, referred her to the

        District Attorney and repeated these claims to ACS which then relayed these allegations

        to Plaintiff’s employer depriving her of her ability to work as she did before Defendant’s
                                                 14
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 15 of 29 PageID #: 232

        actions.

 110.   Plaintiff has suffered damages as a direct and proximate result of the false allegations and

        statements made by Defendants about Plaintiff and the unlawful acts and omissions

        complained of above herein and continues to suffer psychological trauma, and mental

        anguish, and will continue to suffer trauma and anguish for a considerable time to come.

 111.   That as a result of the foregoing, plaintiff has been damaged in the sum of an amount

        that exceeds the jurisdictional limits of all lower courts that would otherwise have

        jurisdiction the full amount of which is impossible to quantify at this time.

                          AS AND FOR A SIXTH CAUSE OF ACTION
                                   (ATTORNEY’S FEES)

 112.   Plaintiff repeat, reiterate and re-allege each and every allegation contained in paragraphs

        “1” through “112” of the complaint with the same force and effect as if set forth at this

        point.

 113.   The above paragraphs are here incorporated by reference.

 114.   Plaintiff was forced to retain counsel to defend herself against meritless criminal

        prosecution.

 115.   Plaintiff incurred attorney’s fees and has suffered damages as the direct and proximate

        result of the unlawful acts and omissions complained of herein.

 116.   Plaintiff has suffered damages as a direct and proximate result of the false allegations and

        statements made by Defendants about Plaintiff and the unlawful acts and omissions

        complained of above herein and continues to suffer psychological trauma, and mental

        anguish, and will continue to suffer trauma and anguish for a considerable time to come.

 117.   That as a result of the foregoing, plaintiff has been damaged in the sum of an amount

        that exceeds the jurisdictional limits of all lower courts that would otherwise have

        jurisdiction the full amount of which is impossible to quantify at this time.


                                                 15
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 16 of 29 PageID #: 233

                  AS AND FOR A SEVENTH CAUSE OF ACTION
           (MALICIOUS PROSECUTION AND FAILURE TO INVESTIGATE)

 118.   Plaintiff repeat, reiterate and re-allege each and every allegation contained in paragraphs

        “1” through “118” of the complaint with the same force and effect as if set forth at this

        point.

 119.   The above paragraphs are here incorporated by reference.

 120.   The defendants caused and or commenced, pursued and or maintain a criminal

        prosecution against Plaintiff.

 121.   Defendants took no steps to investigate and as a direct result of such failure, Plaintiffs

        were injured irreparably.

 122.   Defendants knew or should have known the allegations were false and or predicated on

        prejudice, bias or hate.

 123.   The action was dismissed against Plaintiff.

 124.   The defendants’ actions were malicious at best.

 125.   It is submitted that all Defendants should be held jointly and severally liable for the acts

        and omissions and issues of law set forth above as one could not have succeeded in their

        goals against Plaintiffs’ interest without the individual actions of the other and the issues

        now being complained of are the direct result of the joint and individual acts of the

        Defendants.

 126.   As a result of Defendants acts alleged herein, Plaintiff has suffered, is suffering, and will

        continue to suffer substantial damages which are not yet fully ascertainable.

                           AS AND FOR A EIGHT CAUSE OF ACTION
                               (HARASSMENT 42 USC § 1983 )

 127.   Plaintiff repeat, reiterate and re-allege each and every allegation contained in paragraphs

        “1” through “127” of the complaint with the same force and effect as if set forth at this

        point.
                                                 16
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 17 of 29 PageID #: 234

 128.   The above paragraphs are here incorporated by reference.

 129.   Plaintiff witnessed Defendant’s minor child exposing himself to her own minor child.

 130.   Upon Plaintiff attempting to report this behavior to Defendant Newbald, she was attacked

        and Defendant Newbald set in motion the criminal prosecution against Plaintiff to

        prevent her from reporting the actions of Defendant’s child.

 131.   Not only was Defendant Newbald harassment verbal but also physical in that she

        violently attacked Plaintiff and caused physical injury.

 132.   Defendants have engaged in a pattern of behavior against Plaintiff that serves no

        legitimate purpose and is intended to harass, annoy and alarm Plaintiff and to subject

        Plaintiff to public humiliation.

 133.   This behavior by Defendants caused Plaintiff to worry constantly, to fear physical harm,

        to have difficulties sleeping and to constantly consider what if anything else Defendants

        will do to harass plaintiff.

 134.   It is submitted that all Defendants should be held jointly and severally liable for the acts

        and omissions and issues of law set forth above as one could not have succeeded in their

        goals against Plaintiffs’ interest without the individual actions of the other and the issues

        now being complained of are the direct result of the joint and individual acts of the

        Defendants.

 135.   As a result of Defendants acts alleged herein, Plaintiff has suffered, is suffering, and will

        continue to suffer substantial damages which are not yet fully ascertainable.

                           AS AND FOR A NINTH CAUSE OF ACTION
                                  (PUNITIVE DAMAGES)

 136.   Plaintiff repeat, reiterate and re-allege each and every allegation contained in paragraphs

        “1” through “136” of the complaint with the same force and effect as if set forth at this

        point.


                                                 17
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 18 of 29 PageID #: 235

 137.   The above paragraphs are here incorporated by reference.

 138.   Defendants have engaged in behavior against Plaintiff that is absolutely reprehensible

        and warrants a finding that Plaintiffs’ conduct rises to the highest degree of

        reprehensibility.

 139.   It is respectfully submitted that no amount of compensatory damages that Plaintiff is

        awarded can offset any punitive damages that Plaintiff should be entitled to from

        Defendant.

 140.   Plaintiff was affected, professionally, personally and emotionally by Defendants’

        conduct and punitive damages are warranted and necessary.

 141.   It is submitted that all Defendants should be held jointly and severally liable for the acts

        and omissions and issues of law set forth above as one could not have succeeded in their

        goals against Plaintiffs’ interest without the individual actions of the other and the issues

        now being complained of are the direct result of the joint and individual acts of the

        Defendants.

 142.   As a result of Defendants acts alleged herein, Plaintiff has suffered, is suffering, and will

        continue to suffer substantial damages which are not yet fully ascertainable.

                         AS AND FOR A TENTH CAUSE OF ACTION
                      (LEGAL FEES, COSTS AND DISBURSEMENTS)

 143.   Plaintiff repeat, reiterate and re-allege each and every allegation contained in paragraphs

        “1” through “143” of the complaint with the same force and effect as if set forth at this

        point.

 144.   The above paragraphs are here incorporated by reference.

 145.   Based on the false allegations, misrepresentations and other acts and omissions by

        Defendants against Plaintiffs, Plaintiffs have incurred attorney’s fees and costs in




                                                 18
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 19 of 29 PageID #: 236

        defending this malicious and frivolous prosecution, and will most likely incur costs and

        disbursements and additional attorney’s fees as the matter progress.

 146.   Defendants should be required to pay for all attorney’s fees, legal fees, cost and

        disbursements incurred by Plaintiff as the criminal matters had no valid basis and was

        reported and pursued solely for the purpose of harassing annoying and alarming Plaintiff.

 147.   It is submitted that all Defendants should be held jointly and severally liable for the acts

        and omissions and issues of law set forth above as one could not have succeeded in their

        goals against Plaintiffs’ interest without the individual actions of the other and the issues

        now being complained of are the direct result of the joint and individual acts of the

        Defendants.

 148.   As a result of Defendants acts alleged herein, Plaintiff has suffered, is suffering, and will

        continue to suffer substantial damages which are not yet fully ascertainable.

                        AS AND FOR A ELEVENTH CAUSE OF ACTION
                          (ACTING IN CONCERT/CONSPIRACY)

 149.   Plaintiff repeat, reiterate and re-allege each and every allegation contained in paragraphs

        “1” through “149” of the complaint with the same force and effect as if set forth at this

        point.

 150.   The above paragraphs are here incorporated by reference.

 151.   The Defendants acting in concert with each other did conspire to hide evidence, to omit

        facts pertinent to the criminal case, ACS matter and other pertinent issues in this case,

        and did agree to proceed with actions, omissions and malfeasance for to suppress the

        rights and privileges Plaintiffs are entitled to.

 152.   Based on the false allegations, misrepresentations and other acts and omissions by

        Defendants against Plaintiffs, Plaintiffs have incurred attorney’s fees and costs in




                                                   19
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 20 of 29 PageID #: 237

        defending this malicious and frivolous prosecution, and will most likely incur costs and

        disbursements and additional attorney’s fees as the matter progress.

 153.   Defendants should be required to pay for all attorney’s fees, legal fees, cost and

        disbursements incurred by Plaintiff as the criminal matters had no valid basis and was

        reported and pursued solely for the purpose of harassing annoying and alarming Plaintiff.

 154.   It is submitted that all Defendants should be held jointly and severally liable for the acts

        and omissions and issues of law set forth above as one could not have succeeded in their

        goals against Plaintiffs’ interest without the individual actions of the other and the issues

        now being complained of are the direct result of the joint and individual acts of the

        Defendants.

 155.   As a result of Defendants acts alleged herein, Plaintiff has suffered, is suffering, and will

        continue to suffer substantial damages which are not yet fully ascertainable.

                                            DAMAGES

 156.   Plaintiff repeat, reiterate and re-allege each and every allegation contained in paragraphs

        “1” through “190” of the complaint with the same force and effect as if set forth at this

        point.

 157.   As a direct and proximate result of the actions of Defendants, Plaintiffs have suffered the

        following injuries and damages:

                   a. Violation of rights guaranteed by the Fourth and Fourteenth Amendments

                       of the United States Constitution.

                   b. Loss of liberty.

                   c. Physical pain and suffering

                   d. Lasting pain and disfigurement

                   e. Emotional trauma including fear, embarrassment, humiliation, emotional

                       distress, frustration, extreme inconvenience, anxiety
                                                 20
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 21 of 29 PageID #: 238

                   f. Invasion of privacy

                   g. Expenses and loss of opportunities including but not limited to attorney’s

                       fees and loss of income.

 158.   Plaintiff is seeking punitive damages against Defendant.

 159.   Plaintiff is seeking compensatory damages against Defendant.

 160.   Plaintiff is seeking actual damages against Defendant.

 161.   Plaintiff is seeking incidental damages against Defendant.

 162.   Plaintiff is seeking attorney’s fees, cost and disbursements in litigating this matter.

 163.   Plaintiff is also seeking in addition to monetary recovery, non-monetary remedies, i.e.,

        the removal of the indicated status ACS found against her name and an injunction against

        further unlawful acts.

 164.   Plaintiff can recover punitive damages in the instant action because punitive or

        exemplary damages may be awarded where the defendant’s conduct amounts to such

        gross, wanton or willful fraud, dishonesty, or malicious wrongdoing as to involve a high

        degree of moral culpability, making it appropriate to deter the defendants from engaging

        in similar conduct in the future and to induce the victim to take action against the

        wrongdoer,” Whitney v. Citibank, N.A., 782 F.2d 1106, 1118 (2d Cir. 1986) (citing

        Walker v. Sheldon, 10 N.Y.2d 401, 404–05 [1961]).

 165.   Here the courts should grant punitive damages as a means of punishing Defendants for

        their actions which are “morally culpable, or is actuated by evil and reprehensible

        motives, not only to punish the defendant, and to deter such future conduct by Defendant,

        as well as others who might otherwise be so prompted, from indulging in similar conduct

        in the future,” Seynaeve v. Hudson Moving & Storage, Inc., 261 A.D.2d 168, 169 (1st

        Dept. 1999) (quoting Walker v. Sheldon, 10 N.Y.2d 401, 404 [1961]).

 166.   Plaintiff maintains that punitive damages are appropriate here because Defendant’s
                                                  21
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 22 of 29 PageID #: 239

        conduct was intentionally harmful conduct, willfully or wantonly negligent and or

        reckless. Fordham-Coleman v. Nat’l Fuel Gas Distribution Corp., 42 A.D.3d 106, 113,

        834 NYS.2d 422, 428 (4th Dept. 2007).

 167.   The punitive damages being sought here are recoverable because Defendants acted with

        the degree of malice akin to the mens rea required for most crimes. Jeffries v. Harleston,

        21 F.3d 1238, 1249, cert. granted, vacated on other grounds, 513 U.S. 996 (1994).

 168.   While punitive damage is not a separate cause of action, it is well settled that Plaintiff can

        recover punitive damages here upon establishing the underlying claims outlined in the

        causes of action. In re Pfohl Bros. Landfill Litig., 26 F.Supp.2d 512, 548 vacated Freier

        v. Westinghouse Elec. Corp., 303 F.3d 176 (WDNY 1998).

 169.   Plaintiff concedes that punitive damages are never awarded as of right, no matter how

        egregious defendant’s conduct, In re Simon II Litigation, 211 FRD 86, 162 (EDNY

        2002), vacated, Simon II Litig. v. Philip Morris USA Inc. (In re Simon II Litig.), 407

        F.3d 125 (2d Cir. 2005).

 170.   Plaintiff maintains that even if plaintiff suffers only minimal damage, willful and

        intentional misconduct may be basis for award of punitive damages, In re Baker, 18 B.R.

        243, 245 (Bankr. WDNY 1982).

 171.   In addition, Plaintiff concedes that the courts have made it clear that punitive damages

        are generally not recoverable for an ordinary breach of contract as their purpose is not to

        remedy private wrongs but to vindicate public rights, Garrity v. Lyle Stuart, Inc., 40

        N.Y.2d 354, 358 (1976).

 172.   Nor may they be recovered for an isolated breach of contract even if it is willful and

        without justification, Campo v. 1st Nationwide Bank, 857 F.Supp. 264, 273 (EDNY

        1994). Punitive damages may be awarded in a tort action arising from the parties

        contractual relationship if the plaintiff demonstrates; (1) that the defendant’s conduct is
                                                 22
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 23 of 29 PageID #: 240

        actionable as independent tort; (2) the tortious conduct is of an egregious nature; (3) the

        egregious conduct is directed toward the plaintiff; (4) the defendant’s conduct is part of a

        pattern directed at the public generally. Conocophillips v. 261 E. Merrick Rd. Corp., 428

        F.Supp.2d 111, 129 (EDNY 2006).

 173.   New York law provides that fraudulent conduct may give rise to punitive damages;

        however, mere fraud is insufficient to support a claim of punitive damages. Evil and

        reprehensible motives are still required. Solutia Inc. v. FMC Corp., 456 F.Supp.2d 429,

        453 reconsideration denied (SDNY 2006).

 174.   Here, Plaintiff can recover punitive damages for emotional distress, because the Plaintiff

        has shown that defendant engaged in extreme or outrageous conduct which intentionally

        or recklessly caused severe emotional distress to plaintiff.

 175.   Here, Defendants’ conduct was not merely incidental to proper business motives and thus

        the damages being sought are appropriate. O’Dell v. New York Prop. Ins. Underwriting

        Assn., 145 A.D.2d 791, 792, 535 NYS.2d 777, 779 (3d Dept. 1988).

 176.   All of the damages being sought above herein are based upon the causes of actions being

        pursued herein, and are based on the unlawful acts and/or omissions by Defendants which

        are the direct and proximate cause/result of the damages Plaintiffs now complain of and

        form the basis of the causes of action being pursued by Plaintiffs against Defendant.

 WHEREFORE, Plaintiff respectfully demands and requests judgment against the Defendants as

        follows:

 a)     On Plaintiff’s First cause of action, Plaintiff seeks to have this Honorable Court set the

        amount of damages Plaintiff is entitled to as against Defendant as the damages are not

        now fully ascertainable in that they are on-going but exceed $500,000.00 (five hundred

        thousand dollars) to date; and



                                                 23
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 24 of 29 PageID #: 241

 b)    On Plaintiff’s second cause of action, Plaintiff seeks to have this Honorable Court set the

       amount of damages Plaintiff is entitled to as against Defendant as the damages are not

       now fully ascertainable in that they are on-going but exceed $500,000.00 (five hundred

       thousand dollars) to date; and

 c)    On Plaintiff’s Third cause of action, Plaintiff seeks to have this Honorable Court set the

       amount of damages Plaintiff is entitled to as against Defendant as the damages are not

       now fully ascertainable in that they are on-going but exceed $500,000.00 (five hundred

       thousand dollars) to date; and

 d)    On Plaintiff’s Fourth cause of action, Plaintiff seeks to have this Honorable Court set the

       amount of damages Plaintiff is entitled to as against Defendant as the damages are not

       now fully ascertainable in that they are on-going but exceed $500,000.00 (five hundred

       thousand dollars) to date; and

 e)    On Plaintiff’s Fifth cause of action, Plaintiff seeks to have this Honorable Court set the

       amount of damages Plaintiff is entitled to as against Defendant as the damages are not

       now fully ascertainable in that they are on-going but exceed $500,000.00 (five hundred

       thousand dollars) to date; and

 f)    On Plaintiff’s Sixth cause of action, Plaintiff seeks to have this Honorable Court set the

       amount of damages Plaintiff is entitled to as against Defendant as the damages are not

       now fully ascertainable in that they are on-going but exceed $500,000.00 (five hundred

       thousand dollars) to date; and

 g)    On Plaintiff’s Seventh cause of action, Plaintiff seeks to have this Honorable Court set

       the amount of damages Plaintiff is entitled to as against Defendant as the damages are not

       now fully ascertainable in that they are on-going but exceed $500,000.00 (five hundred

       thousand dollars) to date; and



                                                24
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 25 of 29 PageID #: 242

 h)     On Plaintiff’s Eighth cause of action, Plaintiff seeks to have this Honorable Court set the

        amount of damages Plaintiff is entitled to as against Defendant as the damages are not

        now fully ascertainable in that they are on-going but exceed $500,000.00 (five hundred

        thousand dollars) to date; and

 i)     On Plaintiff’s Ninth cause of action, Plaintiff seeks to have this Honorable Court set the

        amount of damages Plaintiff is entitled to as against Defendant as the damages are not

        now fully ascertainable in that they are on-going but exceed $500,000.00 (five hundred

        thousand dollars) to date; and

 j)     On Plaintiff’s Tenth cause of action, Plaintiff seeks to have this Honorable Court set the

        amount of damages Plaintiff is entitled to as against Defendant as the damages are not

        now fully ascertainable in that they are on-going but exceed $500,000.00 (five hundred

        thousand dollars) to date; and

 k)     On Plaintiff’s Eleventh cause of action, Plaintiff seeks to have this Honorable Court set

        the amount of damages Plaintiff is entitled to as against Defendant as the damages are not

        now fully ascertainable in that they are on-going but exceed $500,000.00 (five hundred

        thousand dollars) to date; and

 177.   As to all causes of action, punitive, compensatory, incidental and actual damages, in an

        amount to be determined by the trier of facts and consistent with the laws of the State of

        New York; and

 178.   A grant of such other and further relief as this Court shall deem just and proper.

 179.   It is submitted that all Defendants should be held jointly and severally liable for the acts

        and omissions and issues of law set forth above as one could not have succeeded in their

        goals against Plaintiff’s interest without the individual actions of the other and the issues

        now being complained of are the direct result of the joint and individual acts of the

        Defendants.
                                                 25
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 26 of 29 PageID #: 243

 180.   As a result of Defendants acts alleged herein, Plaintiff has suffered, is suffering, and will

        continue to suffer substantial damages which are not yet fully ascertainable.

 WHEREFORE, plaintiffs demand judgment against the defendants, jointly and severally, as

        follows:

 A.     An Order granting Plaintiffs’ demand for judgment against Defendants jointly and

        severally; and

 B.     An Order granting Plaintiff's demand for a money judgment of $1,000,000, representative

        of the $1,000,000.00 for the eleven (11) causes of action plus $1,000,000.00 in punitive

        damages, in favor of Plaintiff against Defendants jointly and severally for each cause of

        action; and

 C.     An Order granting Plaintiffs’ request to proceed with their State Court claims

        simultaneously with the Federal Court claims being pursued in this matter; and

 D.     An Order directing Defendants from engaging in any actions against Plaintiffs’ interest

        that are intended to be retaliatory or otherwise punitive against Plaintiffs; and

 E.     An Order awarding Plaintiffs punitive damages in an amount exceeding the jurisdictional

        limits of all the lower courts for each cause of action,

 C.     Awarding plaintiffs reasonable attorneys' fees, costs and disbursements of this action; and

 D.     Awarding Plaintiffs such other and further relief as this Court deems just and proper.

                                         JURY DEMAND

 Plaintiffs demand a trial by jury.

 DATED:      Queens, NY
             February 15, 2022

                                                  Yours, etc.,
                                                  /s/ Audrey A. Thomas, Esq.
                                                  AUDREY A. THOMAS, ESQ.
                                                  (PART 130 CERTIFICATION)
                                                  THE LAW OFFICE OF AUDREY
                                                  THOMAS, PLLC
                                                 26
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 27 of 29 PageID #: 244

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                                       ________________________________
                                       By: AUDREY A. THOMAS,
                                              (4050548)




                                      27
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 28 of 29 PageID #: 245


 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------------- X
 SHERENA STENNETT, INDIVIDUALLY; SHERENA
 STENNETT AS THE NATURAL MOTHER AND
 GUARDIAN OF S.C. REYNOLDS A MINOR AND                                     INDEX#: 21-01069
 Z.K. KERR, A MINOR; S.C. REYNOLDS A MINOR;
 AND, Z.K. KERR, A MINOR                                                   CERTIFICATE OF MERIT
                                                       Plaintiffs,
                        -against-

 NEW YORK CITY ADMINISTRATION FOR
 CHILDREN’S SERVICES (ACS); DAVID A. HANSELL,
 Commissioner of the New York City Administration for
 Children’s Services, in his official capacity; ACS CASE
 WORKER N ARGAN, INDIVIDUALLY AND AS AN
 AGENT OF ACS; ACS CASE WORKER SUPERVISOR
 M THOMPSON, INDIVIDUALLY AND AS AN AGENT
 OF ACS; HONORABLE ERIC GONZALEZ IN HIS
 CAPACITY AS THE DISTRICT ATTORNEY KINGS
 COUNTY; THE NEW YORK CITY POLICE
 DEPARTMENT; THE CITY OF NEW YORK;
 STEPHANIE NEWBALD, INDIVIDUALLY, AS THE
 PARENT AND LEGAL GUARDIAN OF C.
 MCDONALDS, A MINOR, AND AS AN AGENT OF
 THE NEW YORK CITY POLICE DEPARTMENT; JANE
 DOES 1-5 INDIVIDUALLY AND AS AGENTS OF THE
 NEW YORK CITY POLICE DEPARTMENT, SAID
 NAMES BEING FICTITIOUS AND INTENDED TO
 REPRESENT THE FEMALE OFFICERS WHOSE
 NAMES ARE NOT KNOWN TO PLAINTIFFS AT THIS
 TIME; AND JOHN DOES 1-5 INDIVIDUALLY AND AS
 AGENTS OF THE NEW YORK CITY POLICE
 DEPARTMENT, SAID NAMES BEING FICTITIOUS
 AND INTENDED TO REPRESENT THE MALE
 OFFICERS WHOSE NAMES ARE NOT KNOWN TO
 PLAINTIFFS AT THIS TIME,
                                                       Defendants.
 -----------------------------------------------------------------------X

 WE, AUDREY A. THOMAS, ESQ., PLAINTIFFS’ ATTORNEYS IN THIS ACTION, HAVE
 CONSULTED WITH AT LEAST ONE DOCTOR WHO IS KNOWLEDGEABLE ON THE
 RELEVANT ISSUE AND I HAVE CONCLUDED THAT THERE IS A REASONABLE
 BASIS FOR THE COMMENCEMENT OF THIS ACTION.

 Pursuant to CPLR 3012-a, we affirm this Certificate of Merit under penalties of perjury.

 February 15, 2022

                                                        28
Case 1:21-cv-01069-FB-JRC Document 26 Filed 02/16/22 Page 29 of 29 PageID #: 246


 Yours, etc.,
 /s/ AUDREY A. THOMAS
 (Part 130 Certification)
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 ___________________________________
 By: AUDREY A. THOMAS, (4050548)




                                      29
